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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

 Angelique Vazquez, on behalf of herself and others                     )
                similarly situated,                                     )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                           Civil Action No. 1:24-cv-3811
                                                                        )
  Montefiore Health System Inc., Montefiore Mount                       )
       Vernon Hospital, and Gary Ishkanian                              )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           Montefiore Health System, Inc.
                                           111 East 210 Street
                                           New York, New York 10467




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           William Brown, Esq.
                                           Brown Kwon & Lam, LLP
                                           521 5th Avenue, 17th Floor
                                           New York, New York 10175


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:        05/17/2024                                                                                /S/ V. BRAHIMI
                                                                                          Signature of Clerk or Deputy Clerk
